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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 WOLFRAM ARNOLD, ERIK
 FROESE, TRACY HAWKINS,
 JOSEPH KILLIAN, LAURA CHAN
 PYTLARZ, and ANDREW
 SCHLAIKJER,

                Plaintiffs,                      C.A. No. 1:23-cv-528-CFC

       v.

 X CORP. f/k/a TWITTER, INC., X
 HOLDINGS CORP. f/k/a X
 HOLDINGS I, INC., and ELON
 MUSK,

                Defendants.



  DEFENDANT X CORP. f/k/a TWITTER, INC. AND X HOLDINGS CORP.
      f/k/a X HOLDINGS I, INC.’S REPLY BRIEF IN SUPPORT OF
      MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM


  Dated: September 5, 2023              MORGAN, LEWIS & BOCKIUS LLP

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       For the reasons stated below and in their Motion filed by Defendants X Corp.

 f/k/a Twitter, Inc. and X Holdings Corp. f/k/a X Holdings I, Inc.’s (together

 “Twitter”), the Court should dismiss Counts I, II, III, IV, V, VI and XIV from

 Plaintiffs’ Complaint.

 A.    Plaintiffs Are Not Intended Beneficiaries Under the Merger Agreement.

       Where a stranger to a contract seeks to enforce its terms as a third-party

 beneficiary, both parties to the contract must have intended to benefit the third

 party—and such intent must be apparent from the “plain language” of the agreement.

 Fortis Advisors LLC v. Medicines Co., 2019 WL 7290945, at *3 (Del. Ch. Dec. 18,

 2019); Am. Fin. Corp. v. Computer Sciences Corp., 558 F. Supp. 1182 (D. Del.

 1983). “Delaware courts will enforce contractual provisions disclaiming an intent

 to benefit third parties.” Fortis Advisors, 2019 WL 7290945 at *3. “[W]hen a ‘no

 third-party beneficiaries’ provision is ‘customized’ . . . such as when it ‘contains a

 carve-out’ listing some groups as third-party beneficiaries, [courts have] concluded

 that the parties knew how to confer third-party beneficiary status and deliberately

 chose not to do so with respect to any unlisted group.” Crispo v. Musk, 2022 WL

 6693660, at *4 (Del. Ch. Oct. 11, 2022).

       Here, the plain language of the Merger Agreement shows that the parties did

 not intend to confer third-party beneficiary status on Plaintiffs. Section 6.9—the

 very provision in the Merger Agreement that Plaintiffs seek to enforce—is both

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 customized and explicit: “nothing contained in this Section 6.9, express or implied”

 shall give any “third party beneficiary rights” to any Twitter employee, including

 Plaintiffs. D.I. 16-1. This unambiguous disclaimer of an intent to benefit third parties

 is expressed again through the customized “No Third-Party Beneficiaries” provision

 in Section 9.7, which contains a “carve out” for three distinct categories of intended

 beneficiaries, none of which includes employees. Id.; Crispo, 2022 WL 6693660,

 at *5 (“The presence of three carve-outs in Section 9.7 makes this negative

 implication stronger.”).

       Plaintiffs’ assertion that third-party beneficiary status is determined based on

 the parties’ intent to confer a benefit, regardless of whether the contract provides a

 “right to enforce” that benefit is unsupported under Delaware law. D.I. 24 at 3.

 Plaintiffs’ reliance on Wilmington Housing Authority for this proposition is

 misplaced because that case addressed only the arcane issue of whether Delaware

 would allow third parties to enforce “sealed instruments” the same as “simple

 contracts” and has no relevance here. Wilmington Hous. Auth., for Use of Simeone

 v. Fid. & Deposit Co. of Maryland, 43 Del. 381, 385, 390 (1946).

       Plaintiffs’ reliance on Dolan v. Altice USA, Inc. is similarly misplaced. As

 explained in Crispo, “the Dolan decision involved an unusual contract”, because,

 unlike in this case, the plaintiffs there participated in the merger negotiations

 independently from the target company and specifically negotiated the contractual

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 language they sought to enforce. 2022 WL 6693660, at *8. Further, while Dolan

 does not support Plaintiffs’ argument, it is instructive because the court rejected the

 claims of employees who sought to enforce the merger agreement because—as is

 true here—the agreement expressly stated that it did not “create any third-party

 beneficiary rights in any employee of the company.” Dolan, 2019 WL 2711280, at

 *4, 8.

          Likewise, Plaintiffs attempt to avoid the plain language of the Merger

 Agreement by arguing that “where nobody other than the third-party could enforce

 the provision, courts should find the third-party may do so” finds no support under

 Delaware law. While Plaintiffs rely on Amirsaleh for this argument, the court there

 does not suggest its decision turned on the fact that only the plaintiff could enforce

 the purported benefits of the contractual provision. Amirsaleh v. Bd. of Trade of City

 of New York, Inc., 2008 WL 4182998 (Del. Ch. Sept. 11, 2008). And, unlike here,

 the contract at issue in Amirsaleh did not contain a customized no-third party

 beneficiary clause explicitly tailored to exclude purported third-party beneficiaries

 from the contractual provision they sought to enforce.1




 1
   Additionally, Plaintiffs overstate non-binding dicta in Crispo discussing
 Amirsaleh—especially considering that the agreement at issue in Amirsaleh is
 materially different from the Merger Agreement. 2022 WL 6693660, at *7.
 Similarly, Plaintiffs’ novel argument that a no third-party beneficiary clause is
 merely an interpretive aid when a contract is unclear makes no sense given the
                                         3
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       In Crispo the court noted that while the purpose of a merger agreement is to

 deliver “consideration directly to stockholders . . . there are also practical

 considerations guiding the court’s reticence to exten[d] third-party beneficiary status

 to stockholders, as doing [s]o would also lead to proliferation of stockholder suits in

 a variety of commonplace scenarios, which would no doubt give rise to considerable

 inefficiencies both for specific entities and the system as a whole.” Id. at *3. These

 same practical considerations are directly implicated here, as bestowing third-party

 beneficiary status on employees of merged/acquired companies would inevitably

 lead to a wave of employee lawsuits in the most commonplace transactional

 scenarios, which is undoubtedly the reason why no Delaware court has ever granted

 third-party beneficiary status to employees under a merger agreement with a

 customized no third-party beneficiary provision that expressly excludes them from

 the provision they seek to enforce.

       Plaintiffs’ one-sentence argument regarding equitable estoppel lacks merit

 because “[i]n a dispute about enforcement of a bargained-for contract right, equitable

 estoppel is not the proper remedy.” Hallisey v. Artic Intermediate, LLC, 2020 WL

 6438990, at *4 (Del. Ch. Oct. 29, 2020).2



 express customized nature and lack of ambiguity in Sections 6.9 and 9.7 of the
 Merger Agreement.
 2
   Similarly, Plaintiffs’ argument that the Merger Agreement, read as a whole, made
 “Twitter’s existing benefits and severance policy a floor” directly contradicts
                                            4
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        For these reasons, The Court should dismiss Plaintiffs’ Declaratory Judgment

  and Breach of Merger Agreement claims.

  B.   Plaintiffs’ Breach of Contract and Promissory Estoppel Claims Fail.

        Plaintiffs’ Opposition fails to address the New York and Texas case law

  supporting dismissal of these claims by the New York and Texas plaintiffs Froese

  and Pytlarz. Their claims should be dismissed as unopposed.

        The remaining California Plaintiffs rely on cases that recite the general

  principle that, in certain circumstances, an employer’s promises can be accepted by

  continued employment and form implied contracts. However, Plaintiffs fail to

  connect this principle to the specific facts here, which include: (1) the documents

  before the Court demonstrate that the alleged “promises” are simply references to

  the Merger Agreement and thus subject to its no third-party beneficiary provisions,

  which bar any claim for severance benefits (see supra), (2) the alleged “promises”

  in the FAQs are prefaced by a disclaimer that they are only “generally speaking”

  about the “current” severance package, and thus are too indefinite to create an

  enforceable contract and, (3) any implied contract would be unenforceable as a

  matter of law because the Merger Agreement provided Twitter with the unfettered

  right to change or terminate any severance package at any time. D.I. 15 at 11-12.



  Twitter’s explicit right in Section 6.9(e) to terminate any severance policy and lacks
  merit.
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  On that point, the cases on which Plaintiffs rely support dismissal of their claims

  because these cases recognize that an at-will employer remains free to modify or

  terminate any implied contract without additional consideration. See, e.g., Asmus,

  99 P.2d at 78-79.3

        Plaintiffs argue that whether the alleged promise was sufficiently definite is a

  fact question. Not so. “Whether a contract term is sufficiently definite to be

  enforceable is a question of law for the court.” Ladas v. Ca. State Auto. Ass’n, 19

  Cal. App. 4th 761, 770 (1993). Plaintiffs’ breach of contract and promissory

  estoppel claims should be dismissed.4




  3
    Plaintiffs also cite Moncado, but courts decline to follow Moncado where, as here,
  there is ambiguity about what was allegedly promised. See, e.g., Phaedrus Internet
  Dev. Inc. v. Kaiser Found Health Plan, Inc., 2014 WL 11392902, at *1, n.3 (Cal.
  Sup. Ct. Feb. 28, 2014); Moncada v. W. Coast Quartz Corp., 221 Cal. App. 4th 768
  (Cal. App. 2013).
  4
    Additional grounds exist to dismiss these claims as to Plaintiffs Killian and
  Hawkins, who Plaintiffs concede were not laid off and thus not subject to any
  severance premised upon a position elimination. While Killian and Hawkins
  characterize their resignations as “constructive discharges” (D.I. 24 at 15-20), the
  allegations in the Complaint are insufficient to plausibly state such a claim for the
  reasons explained in Twitter’s Opening Brief, which Plaintiffs fail to refute. D.I. 15
  at 9-10; see also Connolly v. Remkes, 2014 WL 5473144, at *9 (N.D. Cal. Oct. 28,
  2014) (“[A]n employee cannot simply ‘quit and sue,’ . . . for ‘[t]he proper focus is
  on whether the resignation was coerced, not whether it was simply one rational
  option for the employee.’”).
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  C.    The Court Should Dismiss Plaintiffs’ Fraud Claims.5

        Plaintiffs attempt to minimize their pleading burden under Rule 9(b) by

  arguing that they need not allege who at Twitter made the allegedly fraudulent

  statements because “the statements here come from a piece of paper.” But, contrary

  to this argument, their Complaint alleges that the fraudulent statements were “orally

  communicated” to employees in “all-hands meetings.” See, e.g., D.I. 10 ¶¶ 41, 86-

  88, 90. Accordingly, Plaintiffs must allege who at Twitter made these fraudulent

  statements. See, e.g., Reddy v. Superior Global Sols., Inc., 2012 WL 6569800, at *8

  (E.D. Tex. Oct. 2, 2012). The cases cited by Plaintiffs are factually distinguishable,

  as they involved only written statements. See Vogel v. Travelers Cas. Ins. Co. of

  Am., 2017 WL 5642302 (C.D. Cal. May 18, 2017) (statements in insurance policy);

  see also Foran v. Ulthera, Inc., 2022 WL 507271 (E.D. Cal. Feb. 18, 2022)

  (statements in marketing materials).

        Plaintiffs also fail to meaningfully address Twitter’s argument that their

  pleading burden is even higher when alleging fraud against a corporate defendant.

  See D.I. 15 at 15-17. Specifically, they cannot satisfy their burden by simply

  asserting that “Twitter,” as opposed to a specific individual, made fraudulent

  misrepresentations. See Khan v. CitiMortgage, Inc., 975 F. Supp. 2d 1127, 1141



  5
   Plaintiffs’ argument that Twitter has conceded “defraud[ing]” them (D.I. 24 at 11)
  completely mischaracterizes Twitter’s position and is unsupported.
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  (E.D. Cal. 2013); Daly v. Castro Llanes, 30 F. Supp. 2d 407, 414 (S.D.N.Y. 1998);

  Reddy, 2012 WL 6569800, at *8.             Plaintiffs try to skirt this problem by

  impermissibly conflating alleged statements by Twitter with alleged statements by

  Musk. However, Rule 9(b) “does not allow a complaint to merely lump multiple

  defendants together.” Swartz v. KPMG LLP, 476 F.3d 756, 764-65 (9th Cir. 2007);

  D.I. 15 at 16-17. And, even the alleged statements by Musk are insufficient, because

  Plaintiffs allege only “on information and belief, [that] Musk … intended Twitter to

  communicate … the Severance Stability Promise…” D.I. 10, ¶ 356. Unsupported

  conclusions and conjecture are insufficient under Rule 9(b). Neubronner v. Milken,

  6 F.3d 666, 672 (9th Cir. 1993) (allegations based on information and belief do not

  satisfy Rule 9(b) without alleging the factual basis for the belief). Here, Plaintiffs

  plead no facts showing that Musk intended that Twitter make any of the alleged

  promises.

        Plaintiffs also fail to plausibly allege that Twitter had no intention of

  performing any alleged promise at the time it was made, and instead attempt (once

  again) to rely on their conclusory and insufficient “on information and belief”

  allegation regarding Musk’s intent (see, e.g., D.I. 10 ¶¶ 76, 359). That is insufficient

  under Rule 9(b). Without substantive non-conclusory facts regarding Twitter’s

  intended purpose in making any allegedly fraudulent statements to employees, the

  Court should dismiss the fraud claim.

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        Finally, Plaintiffs’ unsupported request for punitive damages does not

  transform a breach of contract claim into a fraud claim. See Bruen v. Savage, 1994

  WL 97111, at *1 (S.D.N.Y. Mar. 23, 1994).6

  D.    The Court Should Dismiss, or Alternatively, Stay the FEHA Claims.

        Plaintiffs cite Whitehead arguing that “all a plaintiff must do is allege some

  facts supporting the inference that their termination was because of their religion,

  race or gender.”7 D.I. 24 at 10 (citing Whitehead v. Pacifica Senior Living Mgmt.

  LLC, 2022 WL 313844 (9th Cir. 2022)). But in Whitehead the Ninth Circuit

  ultimately affirmed dismissal of the plaintiff’s discrimination claims, finding the

  plaintiff “ha[d] not pleaded facts to support the inference that her termination was

  because of her [protected categories].” 2022 WL 313844, at *1. Here, as in

  Whitehead, Plaintiffs have failed to allege that they were singled out or treated less

  favorably than similarly situated employees based on any protected categories.

  Arnold resigned, which negates any suggestion that Twitter singled him out. Pytlarz

  alleges she was terminated in connection with a large RIF, but the Complaint lacks

  substantive non-conclusory facts showing that Twitter included her in the RIF

  because of any protected category. The Court should dismiss their FEHA claims.


  6
     Plaintiffs also argue that “Defendants do not claim the fraud claims are
  insufficiently pled as to X Holdings.” D.I. 24 at 13, n. 8. That is incorrect, as Twitter
  has asserted these arguments on behalf of all the entity defendants. See D.I. 15 at 1.
  7
    This argument is odd given that the Complaint does not plead claims for religious
  or race discrimination.
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        If the Court does not dismiss Plaintiffs’ FEHA claims, then it should stay these

  claims based on the first-filed rule. Plaintiffs’ Opposition overstates the degree of

  discretion afforded to district courts when determining whether to apply the first-

  filed rule. D.I. 24 at 13-14. In E.E.O.C. v. University of Pennsylvania, the Third

  Circuit explained that district courts have discretion to deviate from the “default”

  first-filed rule only in “rare” and “exceptional” circumstances. 850 F.2d 969, 972-

  79 (3d Cir. 1988), aff’d, 493 U.S. 182 (1990). No extraordinary circumstances

  warrant such deviation here.        Plaintiffs’ sex and age discrimination claims

  substantially overlap with and are encompassed in the putative class claims in

  Strifling.8 Although Plaintiffs assert additional bases for discrimination, the core

  overlap is substantial enough to justify the application of the first filed rule here. See

  Bank United, NA v. GC of Vineland, LLC, 2020 WL 3453817, at *2 (D.N.J. May 28,

  2020) (the first-filed rule requires “substantial overlap” but “the issues and parties

  involved need not be identical.”). The fact that the Strifling class has not yet been

  certified does not prevent application of the first-filed rule. See MacLean v. Wipro

  Ltd., 2020 WL 7090746, at *10 (D.N.J. Dec. 4, 2020); Santana v. Cavalry Portfolio

  Servs., LLC, 2019 WL 6173672, at *4 (S.D.N.Y. Nov. 19, 2019). In addition, the


  8
    Plaintiffs’ suggestion that this action is more developed than Strifling is false.
  Strifling was filed in December 2022, and Judge Tigar has studied extensive briefing,
  prepared a 16-page order addressing the many defects in the Strifling complaint, and
  currently is evaluating a motion to strike the amended complaint.
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  concerns of judicial efficiency and avoidance of conflicting rulings underlying the

  first-filed rule clearly merit staying Plaintiffs’ FEHA claims.

  E.    Conclusion.

        The Court should dismiss Counts I, II, III, IV, V, VI and XIV for failure to

  state a claim under Rule 12(b)(6).

   Dated: September 5, 2023                      MORGAN, LEWIS & BOCKIUS LLP

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